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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                NORTHERN DIVISION

PATRICK GOLDEN,                               )
                                              )
       Plaintiff,                             )
                                              )       No. 1:10-cv-2371
       vs.                                    )
                                              )
BUREAU OF COLLECTION                          )
RECOVERY, LLC,                                )       JURY DEMAND ENDORSED HEREON
                                              )
       Defendant.                             )


                                          COMPLAINT

       NOW COMES the Plaintiff, PATRICK GOLDEN, by and through his attorney,

MITCHEL E. LUXENBURG, and for his Complaint against the Defendant, BUREAU OF

COLLECTION RECOVERY, LLC, Plaintiff alleges and states as follows:

                                PRELIMINARY STATEMENT

       1.      This is an action for actual and statutory damages for violations of the Fair Debt

Collection Practices Act (hereinafter the “FDCPA”), 15 U.S.C. § 1692, et seq.

                                JURISDICTION AND VENUE

       2.      Jurisdiction arises under the FDCPA, 15 U.S.C. § 1692, et seq. Venue lies

properly in this district pursuant to 28 U.S.C. § 1391(b), as a substantial part of the events and

omissions giving rise to the claim occurred within this District.

                                            PARTIES

       3.      Plaintiff is an individual who was at all relevant times residing in Frederick,

Maryland.
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       4.      Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692a(3), as he is a natural

person allegedly obligated to pay a debt.

       5.      At all relevant times, Defendant acted as a “debt collector” within the meaning of

15 U.S.C. § 1692a(6), in that it held itself out to be a company collecting a consumer debt

allegedly owed by Plaintiff.

       6.      On information and belief, Defendant is a limited liability company of the State of

Minnesota, which is licensed to do business in Maryland and which has its principal place of

business in Eden Prairie, Minnesota.

                                            COUNT I

                      (Violation of the Fair Debt Collection Practices Act)

       7.      On or about December 1, 2009, and again on or about January 4, 2010, Defendant

mailed postcards to Plaintiff in attempts to collect an alleged debt             Copies of said

communications are attached hereto as Exhibits 1 and 2 respectively.

       8.      Thereafter, Defendant’s representatives and/or employees began contacting

Plaintiff’s co-worker, Susan Hart (“Hart”), by telephone in attempts to collect the

aforementioned alleged debt.

       9.      On or about December 28, 2009, Plaintiff contacted Defendant, and left his full

name and telephone number on Defendant’s voice messaging system.

       10.     Nonetheless, Defendant’s representatives and/or employees continued to contact

Hart in attempts to collect the aforementioned alleged debt.

       11.     On or about January 4, 2010, Plaintiff contacted Defendant again and spoke with

Defendant’s representative and/or employee, James Clay (“Clay”), and again left his telephone

number with Clay.




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       12.    During the January 4, 2010 telephone call, just after Plaintiff had again provided

his current telephone number, Clay threatened to call Plaintiff’s co-worker again, stating that

“this was the only phone number he had” for Plaintiff.

       13.    In its attempts to collect the aforementioned alleged debt, Defendant violated the

FDCPA in one or more of the following ways:

              a.        Communicating with a person other than Plaintiff more than once in

                        connection with the collection of the alleged debt without a proper

                        purpose, in violation of 15 U.S.C. § 1692b(3);

              b.        Communicating with Plaintiff regarding the alleged debt by postcard, in

                        violation of 15 U.S.C. § 1692f(7); and

              c.        By acting in an otherwise deceptive, unfair and unconscionable manner

                        and failing to comply with the FDCPA.

       14.    As a result of Defendant’s violations as aforesaid, Plaintiff has suffered and

continues to suffer personal humiliation, embarrassment, mental anguish and emotional distress.

       WHEREFORE, Plaintiff, PATRICK GOLDEN, respectfully prays for a judgment against

Defendant as follows:

              a.        Statutory damages of $1,000.00 for each violation of the FDCPA;

              b.        All reasonable attorneys’ fees, witness fees, court costs and other litigation

                        costs incurred by Plaintiff; and

              c.        Any other relief deemed appropriate by this Honorable Court.




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                                        JURY DEMAND

       Pursuant to Civil Rule 38, Plaintiff hereby demands a trial by jury on all issues in this

action, except for any issues relating to the amount of attorneys’ fees and litigation costs to be

awarded should Plaintiff prevail on any of his claims in this action.



                                                      Respectfully Submitted,

                                                      /s/ Mitchel E. Luxenburg
                                                      Mitchel E. Luxenburg (29092)
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